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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    HANNAH R. LABAREE, #294338
     LINDA C. ALLISON, #179741
3    Assistant Federal Defender
     801 I Street, 3rd Floor
4    Sacramento, CA 95814
     Telephone: (916) 498-5700
5
     Attorneys for Defendant
6    MARTY MARCIANO BOONE
7
                                  UNITED STATES DISTRICT COURT
8
                                 EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                   )   Case No. 2:16-cr-020 TLN
10                                               )
                          Plaintiff,             )   STIPULATION AND ORDER TO
11                                               )   ADVANCE TRIAL CONFIRMATION
            v.                                   )   HEARING
12                                               )
     MARTY MARCIANO BOONE and                    )   Date: April 9, 2018 (Trial)
13   RONDA BOONE,                                )   Time: 9:00 a.m.
                                                 )   Judge: Hon. Troy L. Nunley
14                        Defendants.            )
15
             IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
16
     Attorney, through Amanda Beck and Matthew Yelovich, Assistant United States Attorneys,
17
     attorney for Plaintiff, and Heather Williams, Federal Defender, through Assistant Federal
18
     Defenders, Hannah R. Labaree and Linda C. Allison, attorneys for Marty Marciano Boone, and
19
     Ronda Boone, Pro Se, that Trial Confirmation Hearing be advanced to February 15, 2018 at 9:30
20
     a.m.
21
             Speedy trial time has previously been excluded until April 9, 2018 under 18 U.S.C. §
22
     3161 (h)(7)(B) (iv) (Local Code T4).
23
     IT IS SO STIPULATED.
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1                                      Respectfully submitted,
2                                      HEATHER E. WILLIAMS
                                       Federal Defender
3
4    DATED: January 29, 2018           /s/ Hannah R. Labaree
5                                      HANNAH R. LABAREE
                                       Assistant Federal Defendant
6
                                       /s/ Linda C. Allison
7                                      LINDA C. ALLISON
8
                                       Attorneys for Defendant
9                                      MARTY MARCIANO BOONE

10   DATED: January 29, 2018           /s/ Ronda Boone
                                       RONDA BOONE
11                                     PRO SE
12
     DATED: January 29, 2018           MCGREGOR W. SCOTT
13                                     United States Attorney

14                                     /s/ Amanda Beck
                                       AMANDA BECK
15                                     Assistant United States Attorney
16
                                       /s/ Matthew Yelovich
17                                     Assistant United States Attorney

18                                     Attorneys for Plaintiff
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     Case 2:16-cr-00020-TLN-DB Document 88 Filed 01/29/18 Page 3 of 3


1                                                  ORDER
2           The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Under
4    the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4) time is
5    excluded until April 9, 2018, the date of trial.
6           It is further ordered that the Trial Confirmation Hearing be set for February 15, 2018 at
7    9:30 a.m.
8    Dated: January 29, 2018
9
10
                                                              Troy L. Nunley
11                                                            United States District Judge
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